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 5
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 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      IGNACIO VERA,                                    Case No.:
11
                   Plaintiff,                          COMPLAINT FOR INJUNCTIVE
12                                                     RELIEF AND DAMAGES FOR DENIAL
            vs.                                        OF CIVIL RIGHTS OF A DISABLED
13                                                     PERSON IN VIOLATIONS OF
14                                                     1. AMERICANS WITH DISABILITIES
                                                       ACT, 42 U.S.C. §12131 et seq.;
15    818 LOUNGE, LLC; and DOES 1 to 10,
                   Defendants.                         2. CALIFORNIA’S UNRUH CIVIL
16                                                     RIGHTS ACT;
17                                                     3. CALIFORNIA’S DISABLED
                                                       PERSONS ACT;
18
                                                       4. CALIFORNIA HEALTH & SAFETY
19                                                     CODE;
20                                                     5. NEGLIGENCE
21
22
23
            Plaintiff IGNACIO VERA (“Plaintiff”) complains of Defendants 818 LOUNGE,

24
      LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

25
                                                PARTIES

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            1.     Plaintiff is a California resident with a physical disability. Plaintiff is

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      quadriplegic due to his underlying neurological condition, syringomyelia, and is

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 1    substantially limited in his ability to walk. Plaintiff requires the use of a wheelchair at all
 2    times when traveling in public.
 3             2.   Defendants are, or were at the time of the incident, the real property owners,
 4    business operators, lessors and/or lessees of the real property for a night club
 5    (“Business”) located at or about 4923 Lankershim Blvd., North Hollywood, California.
 6             3.   The true names and capacities, whether individual, corporate, associate or
 7    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 8    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 9    Court to amend this Complaint when the true names and capacities have been
10    ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
11    fictitiously named Defendants are responsible in some manner, and therefore, liable to
12    Plaintiff for the acts herein alleged.
13             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
14    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
15    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
16    the things alleged herein was acting with the knowledge and consent of the other
17    Defendants and within the course and scope of such agency or employment relationship.
18             5.   Whenever and wherever reference is made in this Complaint to any act or
19    failure to act by a defendant or Defendants, such allegations and references shall also be
20    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
21    and severally.
22                                  JURISDICTION AND VENUE
23             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
24    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
25    seq.).
26             7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
27    arising from the same nucleus of operating facts, are also brought under California law,
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 1    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 2    54, 54., 54.3 and 55.
 3          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 4          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 5    property which is the subject of this action is located in this district, Los Angeles County,
 6    California, and that all actions complained of herein take place in this district.
 7                                      FACTUAL ALLEGATIONS
 8          10.    In or about September of 2023, Plaintiff went to the Business.
 9          11.    The Business is a night club business establishment, open to the public, and
10    is a place of public accommodation that affects commerce through its operation.
11    Defendants provide a restroom for customers.
12          12.    While attempting to enter the Business during each visit, Plaintiff personally
13    encountered a number of barriers that interfered with his ability to use and enjoy the
14    goods, services, privileges, and accommodations offered at the Business.
15          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
16    included, but were not limited to, the following:
17                 a.     Defendants failed to comply with the federal standard for the
18                        restroom. The restroom was not accessible and violated various
19                        American with Disability Act Accessibility Guideline (“ADAAG”)
20                        requirements, including but not limited to:
21                        a.     grab bars;
22                        b.     toilet paper dispenser;
23                        c.     sink pipe insulation; and
24                        d.     inadequate turning space
25          14.    These barriers and conditions denied Plaintiff full and equal access to the
26    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
27    patronize the Business; however, Plaintiff is deterred from visiting the Business because
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 1    his knowledge of these violations prevents him from returning until the barriers are
 2    removed.
 3          15.    Based on the violations, Plaintiff alleges, on information and belief, that
 4    there are additional barriers to accessibility at the Business after further site inspection.
 5    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 6    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 7          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 8    knew that particular barriers render the Business inaccessible, violate state and federal
 9    law, and interfere with access for the physically disabled.
10          17.    At all relevant times, Defendants had and still have control and dominion
11    over the conditions at this location and had and still have the financial resources to
12    remove these barriers without much difficulty or expenses to make the Business
13    accessible to the physically disabled in compliance with ADDAG and Title 24
14    regulations. Defendants have not removed such barriers and have not modified the
15    Business to conform to accessibility regulations.
16                                      FIRST CAUSE OF ACTION
17           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
18          18.    Plaintiff incorporates by reference each of the allegations in all prior
19    paragraphs in this complaint.
20          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
21    shall be discriminated against on the basis of disability in the full and equal enjoyment of
22    the goods, services, facilities, privileges, advantages, or accommodations of any place of
23    public accommodation by any person who owns, leases, or leases to, or operates a place
24    of public accommodation. See 42 U.S.C. § 12182(a).
25          20.    Discrimination, inter alia, includes:
26                 a.     A failure to make reasonable modification in policies, practices, or
27                        procedures, when such modifications are necessary to afford such
28                        goods, services, facilities, privileges, advantages, or accommodations



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 1                     to individuals with disabilities, unless the entity can demonstrate that
 2                     making such modifications would fundamentally alter the nature of
 3                     such goods, services, facilities, privileges, advantages, or
 4                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 5               b.    A failure to take such steps as may be necessary to ensure that no
 6                     individual with a disability is excluded, denied services, segregated or
 7                     otherwise treated differently than other individuals because of the
 8                     absence of auxiliary aids and services, unless the entity can
 9                     demonstrate that taking such steps would fundamentally alter the
10                     nature of the good, service, facility, privilege, advantage, or
11                     accommodation being offered or would result in an undue burden. 42
12                     U.S.C. § 12182(b)(2)(A)(iii).
13               c.    A failure to remove architectural barriers, and communication barriers
14                     that are structural in nature, in existing facilities, and transportation
15                     barriers in existing vehicles and rail passenger cars used by an
16                     establishment for transporting individuals (not including barriers that
17                     can only be removed through the retrofitting of vehicles or rail
18                     passenger cars by the installation of a hydraulic or other lift), where
19                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
20               d.    A failure to make alterations in such a manner that, to the maximum
21                     extent feasible, the altered portions of the facility are readily
22                     accessible to and usable by individuals with disabilities, including
23                     individuals who use wheelchairs or to ensure that, to the maximum
24                     extent feasible, the path of travel to the altered area and the
25                     bathrooms, telephones, and drinking fountains serving the altered
26                     area, are readily accessible to and usable by individuals with
27                     disabilities where such alterations to the path or travel or the
28                     bathrooms, telephones, and drinking fountains serving the altered area



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 1                        are not disproportionate to the overall alterations in terms of cost and
 2                        scope. 42 U.S.C. § 12183(a)(2).
 3          21.    Toilet paper dispensers shall comply with 309.4 and shall be 7 inches (180
 4    mm) minimum and 9 inches (230 mm) maximum in front of the water closet measured to
 5    the centerline of the dispenser. The outlet of the dispenser shall be 15 inches (380 mm)
 6    minimum and 48 inches (1220 mm) maximum above the finish floor and shall not be
 7    located behind grab bars. Dispensers shall not be of a type that controls delivery or that
 8    does not allow continuous paper flow. Advisory 604.7 Dispensers. If toilet paper
 9    dispensers are installed above the side wall grab bar, the outlet of the toilet paper
10    dispenser must be 48 inches (1220 mm) maximum above the finish floor and the top of
11    the gripping surface of the grab bar must be 33 inches (840 mm) minimum and 36 inches
12    (915 mm) maximum above the finish floor.
13          22.    Here, Defendants failed to properly install the toilet paper dispenser, as its
14    placement does not meet the 7 inch minimum requirement. It is placed too close to the
15    front of the water closet, and therefore requires tight twisting of the torso to operate.
16          23.    Water supply and drainpipes under lavatories and sinks shall be insulated or
17    otherwise configured to protect against contact. There shall be no sharp or abrasive
18    surfaces under lavatories and sinks. 2010 ADA Standards § 606.5.
19          24.    Here, Defendants failed to properly insulate the drainpipes under the sink.
20          25.    The side wall grab bar shall be 42 inches (1065 mm) long minimum, located
21    12 inches (305 mm) maximum from the rear wall and extending 54 inches (1370 mm)
22    minimum from the rear wall. 2010 ADA Standards § 604.5.1. The rear wall grab bar
23    shall be 36 inches (915 mm) long minimum and extend from the centerline of the water
24    closet 12 inches (305 mm) minimum on one side and 24 inches (610 mm) minimum on
25    the other side. 2010 ADA Standards § 604.5.2. Grab bars shall be installed in a
26    horizontal position, 33 inches (840 mm) minimum and 36 inches (915 mm) maximum
27    above the finish floor measured to the top of the gripping surface. 2010 ADA Standards
28    § 609.4.



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 1          26.      Here, Defendants failed to install any grab bars.
 2          27.      The turning space shall be a space of 60 inches (1525 mm) diameter
 3    minimum. The space shall be permitted to include knee and toe clearance complying
 4    with 306. 2010 ADA Standards § 304.3.1. Toilet and bathing rooms shall comply with
 5    603. Turning space complying with 304 shall be provided within the room. 2010 ADA
 6    Standards § 603.2.1. A clear floor space 30 in by 48 in (760 mm by 1220 mm)
 7    complying with 4.2.4 shall be provided in front of a lavatory to allow forward approach.
 8    Such clear floor space shall adjoin or overlap an accessible route and shall extend a
 9    maximum of 19 in (485 mm) underneath the lavatory. 1991 ADA Standards § 4.19.3.
10          28.      Here, Defendants failed to comply with the federal standard by failing to
11    provide adequate turning space of minimum 60 inches in the restroom, as the door opens
12    inwards and obstructs any usable space within the stall.
13          29.      A public accommodation shall maintain in operable working condition those
14    features of facilities and equipment that are required to be readily accessible to and usable
15    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
16          30.      By failing to maintain the facility to be readily accessible and usable by
17    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
18    regulations.
19          31.      The Business has denied and continues to deny full and equal access to
20    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
21    discriminated against due to the lack of accessible facilities, and therefore, seeks
22    injunctive relief to alter facilities to make such facilities readily accessible to and usable
23    by individuals with disabilities.
24                                  SECOND CAUSE OF ACTION
25                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
26          32.      Plaintiff incorporates by reference each of the allegations in all prior
27    paragraphs in this complaint.
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                                              COMPLAINT - 7
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 1          33.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 2    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 3    national origin, disability, medical condition, genetic information, marital status, sexual
 4    orientation, citizenship, primary language, or immigration status are entitled to the full
 5    and equal accommodations, advantages, facilities, privileges, or services in all business
 6    establishments of every kind whatsoever.”
 7          34.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 8    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 9    for each and every offense for the actual damages, and any amount that may be
10    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
11    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
12    attorney’s fees that may be determined by the court in addition thereto, suffered by any
13    person denied the rights provided in Section 51, 51.5, or 51.6.
14          35.    California Civil Code § 51(f) specifies, “a violation of the right of any
15    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
16    shall also constitute a violation of this section.”
17          36.    The actions and omissions of Defendants alleged herein constitute a denial
18    of full and equal accommodation, advantages, facilities, privileges, or services by
19    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
20    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
21    51 and 52.
22          37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
23    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
24    damages as specified in California Civil Code §55.56(a)-(c).
25                                   THIRD CAUSE OF ACTION
26                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
27          38.    Plaintiff incorporates by reference each of the allegations in all prior
28    paragraphs in this complaint.



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 1          39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 2    entitled to full and equal access, as other members of the general public, to
 3    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 4    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 5    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 6    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 7    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 8    places of public accommodations, amusement, or resort, and other places in which the
 9    general public is invited, subject only to the conditions and limitations established by
10    law, or state or federal regulation, and applicable alike to all persons.
11          40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
12    corporation who denies or interferes with admittance to or enjoyment of public facilities
13    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
14    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
15    the actual damages, and any amount as may be determined by a jury, or a court sitting
16    without a jury, up to a maximum of three times the amount of actual damages but in no
17    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
18    determined by the court in addition thereto, suffered by any person denied the rights
19    provided in Section 54, 54.1, and 54.2.
20          41.    California Civil Code § 54(d) specifies, “a violation of the right of an
21    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
22    constitute a violation of this section, and nothing in this section shall be construed to limit
23    the access of any person in violation of that act.
24          42.    The actions and omissions of Defendants alleged herein constitute a denial
25    of full and equal accommodation, advantages, and facilities by physically disabled
26    persons within the meaning of California Civil Code § 54. Defendants have
27    discriminated against Plaintiff in violation of California Civil Code § 54.
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 1           43.    The violations of the California Disabled Persons Act caused Plaintiff to
 2     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 3     statutory damages as specified in California Civil Code §55.56(a)-(c).
 4                                  FOURTH CAUSE OF ACTION
 5                  CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 6           44.    Plaintiff incorporates by reference each of the allegations in all prior
 7     paragraphs in this complaint.
 8           45.    Plaintiff and other similar physically disabled persons who require the use of
 9     a wheelchair are unable to use public facilities on a “full and equal” basis unless each
10     such facility is in compliance with the provisions of California Health & Safety Code §
11     19955 et seq. Plaintiff is a member of the public whose rights are protected by the
12     provisions of California Health & Safety Code § 19955 et seq.
13           46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
14     that public accommodations or facilities constructed in this state with private funds
15     adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
16     Title 1 of the Government Code. The code relating to such public accommodations also
17     require that “when sanitary facilities are made available for the public, clients, or
18     employees in these stations, centers, or buildings, they shall be made available for
19     persons with disabilities.
20           47.    Title II of the ADA holds as a “general rule” that no individual shall be
21     discriminated against on the basis of disability in the full and equal enjoyment of goods
22     (or use), services, facilities, privileges, and accommodations offered by any person who
23     owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
24     Further, each and every violation of the ADA also constitutes a separate and distinct
25     violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
26     award of damages and injunctive relief pursuant to California law, including but not
27     limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
28     //



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 1                                     FIFTH CAUSE OF ACTION
 2                                           NEGLIGENCE
 3            48.    Plaintiff incorporates by reference each of the allegations in all prior
 4     paragraphs in this complaint.
 5            49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 6     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 7     to the Plaintiff.
 8            50.    Defendants breached their duty of care by violating the provisions of ADA,
 9     Unruh Civil Rights Act and California Disabled Persons Act.
10            51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
11     has suffered damages.
12                                       PRAYER FOR RELIEF
13            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
14     Defendants as follows:
15            1.     For preliminary and permanent injunction directing Defendants to comply
16     with the Americans with Disability Act and the Unruh Civil Rights Act;
17            2.     Award of all appropriate damages, including but not limited to statutory
18     damages, general damages and treble damages in amounts, according to proof;
19            3.     Award of all reasonable restitution for Defendants’ unfair competition
20     practices;
21            4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
22     action;
23            5.     Prejudgment interest pursuant to California Civil Code § 3291; and
24            6.     Such other and further relief as the Court deems just and proper.
25                                 DEMAND FOR TRIAL BY JURY
26            Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
27     demands a trial by jury on all issues so triable.
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                                              COMPLAINT - 11
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 1     Dated: December 13, 2023                SO. CAL. EQUAL ACCESS GROUP
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 3
 4                                       By:   _/s/ Jason J. Kim___________
                                               Jason J. Kim, Esq.
 5                                             Attorneys for Plaintiff
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